      Case 2:17-cv-05752-R-RAO Document 24 Filed 02/26/18 Page 1 of 3 Page ID #:317

                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
                                          415-355-8000
Molly C. Dwyer
Clerk of Court                          February 26, 2018


       No.:             18-55253
       D.C. No.:        2:17-cv-05752-R-RAO
       Short Title:     Timothy Ryan v. Brant Putnam, et al


       Dear Appellant/Counsel

       A copy of your notice of appeal/petition has been received in the Clerk's office of
       the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. You must
       indicate this Court of Appeals docket number whenever you communicate with
       this court regarding this case.

       Please furnish this docket number immediately to the court reporter if you place an
       order, or have placed an order, for portions of the trial transcripts. The court
       reporter will need this docket number when communicating with this court.

       The due dates for filing the parties' briefs and otherwise perfecting the appeal
       have been set by the enclosed "Time Schedule Order," pursuant to applicable
       FRAP rules. These dates can be extended only by court order. Failure of the
       appellant to comply with the time schedule order will result in automatic
       dismissal of the appeal. 9th Cir. R. 42-1.
Case 2:17-cv-05752-R-RAO Document 24 Filed 02/26/18 Page 2 of 3 Page ID #:318




                  UNITED STATES COURT OF APPEALS
                                                                    FILED
                          FOR THE NINTH CIRCUIT
                                                                    FEB 26 2018
                                                                  MOLLY C. DWYER, CLERK
                                                                   U.S. COURT OF APPEALS




 TIMOTHY RYAN, M.D.,                           No. 18-55253

              Plaintiff - Appellant,
                                               D.C. No. 2:17-cv-05752-R-RAO
   v.                                          U.S. District Court for Central
                                               California, Los Angeles
 BRANT PUTNAM, M.D.; JANINE
 VINTCH, M.D.; ANISH MAHAJAN,                  TIME SCHEDULE ORDER
 M.D.; CHRISTIAN DE VIRGILIO,
 M.D.; HAL F. LEE, M.D.; DOES, 1
 through 50, inclusive; MITCHELL
 KATZ, M.D.; ROGER LEWIS, M.D.,

              Defendants - Appellees.



The parties shall meet the following time schedule.

 Mon., March 5, 2018          Mediation Questionnaire due. If your registration for
                              Appellate ECF is confirmed after this date, the
                              Mediation Questionnaire is due within one day of
                              receiving the email from PACER confirming your
                              registration.
 Tue., April 24, 2018         Appellant's opening brief and excerpts of record
                              shall be served and filed pursuant to FRAP 32 and
                              9th Cir. R. 32-1.
 Thu., May 24, 2018           Appellees' answering brief and excerpts of record
                              shall be served and filed pursuant to FRAP 32 and
                              9th Cir. R. 32-1.
Case 2:17-cv-05752-R-RAO Document 24 Filed 02/26/18 Page 3 of 3 Page ID #:319
The optional appellant's reply brief shall be filed and served within 21 days of
service of the appellees' brief, pursuant to FRAP 32 and 9th Cir. R. 32-1.

Failure of the appellant to comply with the Time Schedule Order will result in
automatic dismissal of the appeal. See 9th Cir. R. 42-1.

                                            FOR THE COURT:

                                            MOLLY C. DWYER
                                            CLERK OF COURT

                                            By: John Brendan Sigel
                                            Deputy Clerk
                                            Ninth Circuit Rule 27-7
